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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                CRIMINAL NO. 3:20-CR-00380-B

JASON SHEROD BALDWIN

              MOTION TO REVOKE CONDITIONS OF PRETRIAL RELEASE

        Pursuant to the petition filed in this cause, the United States files the following

Motion to Revoke the defendant’s conditions of pretrial release. In support, the

government alleges the following:

        1.      On July 29, 2020, Mr. Baldwin was charged by complaint with one count

of 18 U.S.C. § 2252A(a)(2)(A), Receipt of Child Pornography. At his initial appearance

in this Court on the same date, Mr. Baldwin was advised of his rights and appointed

counsel. The United States moved to temporarily detain Mr. Baldwin.

        2.      On July 31, 2020, Mr. Baldwin appeared for his preliminary and detention

hearing in this Court. Mr. Baldwin was released pursuant to conditions of release,

including:

        (6)     The defendant is placed in the custody of: Chante Spratling, 8110 Skillman

                St. #2023, Dallas, Texas, who agrees to (a) supervise the defendant, (b) use

                every effort to assure the defendant's appearance at all court proceedings,

                and (c) notify the court immediately if the defendant violates a condition of

                release or is no longer in the custodian’s custody;




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       (7)(f) The defendant must abide by the following restriction on personal

               association, residence, or travel: Reside at address with mother as approved

               by pretrial services; and

       (7)(h) The defendant must get psychiatric treatment or Sex Offender Treatment.

       3.      Mr. Baldwin violated his conditions of release on November 20, 2020 when

he failed to report for an individual session over the telephone with Bill Bruner at ACT

Counseling. On November 23, 2020, Mr. Baldwin was contacted about the skipped

session and acknowledged that he had a missed call from Bill Brunner.

       4.      On November 23, 2020, Chante Spratling, third-party custodian, contacted

probation services to report that Mr. Baldwin had attempted suicide by slitting his wrist

and drowning himself in the bathtub. Mrs. Spratling received a call from her husband at

10:10 AM on November 23, 2020, after Mr. Baldwin’s asserted that he would not be

alive in two days’ time. When Mrs. Spratling returned to her home around 11:30 AM, she

found the door locked and called the police. Mr. Baldwin was found in the bathtub with a

wound on his wrist and was transported to Medical City Dallas for an evaluation.

       5.      After the incident, Mrs. Spratling informed pretrial services that she no

longer wishes to serve as third-party custodian to Mr. Baldwin and that he is no longer

welcome in her home.

       Accordingly, the United States asserts that Mr. Baldwin is a danger to himself and

the community, and that the only way to reasonably assure his appearance in Court is to

detain Mr. Baldwin pending trial. The government therefore requests that his conditions

of release be revoked.

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                                   Respectfully submitted,

                                   /s/ Nicole Dana
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